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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

ALEXANDRIA DIVISION

MARCUS DARNELL SMITH #90047- CIVIL DOCKET NO. 1:21-CV-02444
280, SEC P
Petitioner

VERSUS | JUDGE DRELL
USA, MAGISTRATE JUDGE PEREZ-MONTES
Respondent

JUDGMENT

For the reasons stated in the Report and Recommendation of the Magistrate
Judge previously filed herein (ECF No. 6), noting the absence of objections thereto,
and concurring with the Magistrate Judge’s findings under the applicable law;

IT IS HEREBY ORDERED that the Petition for Writ of Habeas Corpus under
28 U.S.C. § 2241 (ECF No. 5) is DENIED and DISMISSED WITH PREJUDICE.

Yr
THUS, DONE AND SIGNED at Alexandria, Louisiana, this [3 day of

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DEE. D. DRELL, JUDGE
UNITED STATES DISTRICT COURT

October 2021.

 
